                 IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

Catholic Medical Association,              §
                                           §
           Plaintiff,                      §
                                           §
      v.                                   §
                                           §     Civil Action No. 3:25-cv-00048
United States Department of                §
Health and Human Services, et al.,         §
                                           §
            Defendants.                    §
                                           §


                             NOTICE OF DISMISSAL


      Plaintiff Catholic Medical Association hereby files this notice of voluntary

dismissal without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(i).

      Respectfully filed this 3rd day of June, 2025.

  /s/ J. Dylan Harper                    /s/ Matthew S. Bowman
 J. Dylan Harper                        Matthew S. Bowman*
 TBPR No. 036820 (Admitted 2018)        D.C. Bar No. 993261
 SWAFFORD LAW                           ALLIANCE DEFENDING FREEDOM
 321 Billingsly Ct, Suite 1             440 First Street NW, Suite 600
 Franklin, TN 37067                     Washington, DC 20001
 Office: 615.599.8406                   Telephone: (202) 393-8690
 Fax: 615.807.2355                      Facsimile: (202) 347-3622
 dylan@swaffordlawfirm.com              mbowman@ADFlegal.org
                                        *Admitted pro hac vice

             Counsel for Plaintiff Catholic Medical Association




 Case 3:25-cv-00048       Document 30     Filed 06/03/25   Page 1 of 1 PageID #: 163
